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1
2                            UNITED STATES DISTRICT COURT
3                                   DISTRICT OF NEVADA
4
5     CANDICE WEATHERLOW,                              Case No. 3:20-CV-0048-RCJ-CLB
6                                         Plaintiff,   ORDER
7           v.
8     LISA HOWARD,
9                                      Defendant.
10
11         Before the court are plaintiff’s two motions for leave to file amended complaint
12   (ECF Nos. 16 & 20). It appears that plaintiff has not properly completed service in this
13   case nor has a responsive pleading been filed (ECF No. 14). Therefore, pursuant to Fed.
14   R. Civ. P. 15(a)(1), plaintiff may amend her complaint once as a matter of course.
15   Plaintiff’s second motion for leave to amend (ECF No. 20) is GRANTED. The Clerk shall
16   detach and FILE the proposed amended complaint. Plaintiff’s first motion for leave to
17   amend (ECF No. 16) is DENIED as moot.
18
           IT IS SO ORDERED.
19          October 16, 2020
     DATED: ______________________
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21                                            ___________________________________
                                              UNITED STATES MAGISTRATE JUDGE
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